                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF MISSOURI
                               WESTERN DIVISION

 LOCAL UNION NO. 124 IBEW PENSION            )
 TRUST FUND, et al.,                         )
                                             )
                     Plaintiffs,             )
                                             )
             v.                              )   Case No. 4:18-cv-00219-DGK
                                             )
UNIVERSAL TECHNOLOGIES, LLC,                 )
                                             )
                     Defendant.              )

                             CLERK’S ENTRY OF DEFAULT

      Upon review of the record, Defendants have failed to defend as required by the Federal

Rules of Civil Procedure.     Therefore, DEFAULT of the following named defendants is

ENTERED pursuant to Federal Rules of Civil Procedure 55(a):

      UNIVERSAL TECHNOLOGIES, LLC.

Dated: August 22 2018                    Paige Wymore-Wynn
                                         Clerk of the Court

                                         By: /s/ Tracy Strodtman
                                            Deputy Clerk




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